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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                    )
                                             )        ORDER ACCEPTING DEFENDANT'S
               Plaintiff,                    )        WAIVER OF HER RIGHT TO A
                                             )        PRELIMINARY HEARING AND
       vs.                                   )        GRANTING GOVERNMENT'S
                                             )        MOTION FOR DETENTION
Dusty Joan O'Berry,                          )
                                             )        Case No.: 4:05-cr-024
               Defendant.                    )


       On September 29, 2006, Defendant made her initial appearance on a Petition for Warrant

or Summons for Offender Under Supervision charging her with violating the specials conditions of

her release supervised release. AUSA Clare Hochhalter appeared on the government's behalf and

moved to detain the defendant. Federal Public Defender William Schmidt was appointed as defense

counsel and appeared on the defendant's behalf.

       Upon being advised of her rights and reviewing the petition, Defendant advised the court

that she waived her right to a preliminary hearing and detention hearing. The court finds that

Defendant, having had an opportunity to consult with counsel, freely and voluntarily, and knowingly

and intelligently waived her right to a preliminary hearing. Further, based upon Defendant’s waiver

of her right to a preliminary hearing, the court finds that there is probable cause to believe that

Defendant may have committed the violations alleged in the petition. Accordingly, the court

ORDERS that, pursuant to Rule 32.1 of the Federal Rules of Criminal Procedure, the defendant be

bound over to the United States District Court to answer to the charges set forth in the amended

petition. A revocation hearing has been scheduled for October 4, 2006, at 10:00 a.m. before Chief

Judge Hovland in Bismarck, North Dakota.

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       In addition, the court GRANTS the government’s Motion to Detain and FURTHER

ORDERS that Defendant be committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall be

afforded a reasonable opportunity for private consultations with defense counsel. On order of a

court of the United States or on request of an attorney for the government, the person in charge of

the corrections facility shall deliver Defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

       Dated this 29th day of September, 2006.



                                                     /s/ Charles S. Miler, Jr.
                                                     Charles S. Miller, Jr.
                                                     United States Magistrate Judge




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